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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

 

CHRISTOPHER MILLER,

Plaintiff,
-against-
Civ. Action No. 3:10-CV-597
CITY OF ITHACA, et al,
(BKS}
Defendants.

 

SATISFACTION OF JUDGMENT
A judgment was entered in the above-captioned action on the 5th day of January, 2017, in
favor of Christopher Miller and against the City of Ithaca, Edward Vallely, John Barber, and Pete
Tyler, for attorney’s fees in the amount of $492,706.73 and for expenses in the amount of

$27,620.27. Pursuant to 28 U.S.C. § 1961, post judgment interest on these amounts is $13,668.21.

   
 
  
 
  

The total amvusni of said judgment consequently is $544,124.29 and that amount has been

fully paid to Mr. Miller and his counsel. It is furthyy died that there are no outstanding
executions with any Sheriff or Marshall.

THEREFORE, full and complete satisfaction of said judgment is hereby acknowledged,
and the Clerk of the Court is hereby authorized and directed to make an entry of the full and
complete satisfaction on the docket of said judgment.

Dated: Syracuse, New York

Bosman Law Firm, LLC

A ys for Christopher Miller

3000 McConnellsville Road
Blossvale, New York 13308

By
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STATE OF NEW YORK
SS.:

Nee ee ee”

COUNTY OF TOMPKINS

On the | day of February, 2020, before me personally came A.J.
Bosman, to me known and known to be a member of the Bosman Law Firm, attorneys for
Christopher Miller in the above-entitled action, and to be the same person described in and who

executed the within satisfaction of judgment and acknowledged to me that she executed the same.

 

Notary Public

Subscribed and sworn to before
me this “/ day of February, 2020.

ELEANOR J. MCCLOSKEY
NOTARY PUBLIC-STATE OF NEW YORK
No, 01MC6229603

Notapsebailiven Expires October 12, 2018"

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